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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
v.                                          :
                                            :
                                            :       Case No. 1:21-CR-0085-CRC
SIMONE GOLD,                                :
                                            :
                                            :
                      Defendant.            :

                        MOTION TO WITHDRAW AS COUNSEL

       COMES NOW, Mr. Dickson Young, Esq. and Ms. Kira Anne West, Esq., counsel for the

Defendant in the above-styled matter, and hereby requests this Court for entry of an Order

withdrawing as counsel for the Defendant, SIMONE GOLD. All matters involving

representation by Mr. Dickson Young, Esq. and Ms. Kira Anne West, Esq. have concluded.



                                            Respectfully submitted,

                                            ____________/s/____________
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                                            ____________/s/_____________
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                                  CERTIFICATE OF SERVICE

         On this 7th day of November, 2022, a copy of the foregoing was served on counsel of
record for the parties via the Court’s Electronic Filing System.


                                           ____________/s/____________
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